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 11   Counsel for Plaintiff Vivian Lejbman
 12   and the Proposed Class

 13                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 14
      VIVIAN LEJBMAN individually and on         CASE NO.: 17-CV-1317-CAB-MDD
 15   behalf of all others similarly situated,
                                                 CLASS ACTION
 16
                    Plaintiff,
 17                                              FIRST AMENDED COMPLAINT FOR
             v.                                  EQUITABLE RELIEF AND DAMAGES
 18
      TRANSNATIONAL FOODS, INC., a               JURY TRIAL DEMANDED
 19   Florida corporation, and CONSERVAS
      CERQUEIRA, S.A., a foreign corporation,
 20
                    Defendants.
 21
 22
 23
 24
 25
 26
 27
 28
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             Plaintiff, VIVIAN LEJBMAN (“Plaintiff”), individually, and on behalf of all others
  1
      similarly situated, by and through the undersigned counsel, and pursuant to all applicable Federal
  2
      Rules of Civil Procedure, including Rule 15(a)(1)(B), hereby files this Amended Class Action
  3
      Complaint for Equitable Relief and Damages against Defendants, TRANSNATIONAL FOODS,
  4
      INC. (“Transnational” or “Defendant”), and CONSERVAS CERQUEIRA, S.A. (“Cerqueira” or
  5
      “Defendant”) (collectively, “Defendants”), and alleges the following:
  6
                                              I. INTRODUCTION
  7
             1.      This is a consumer protection class action based on Defendants’ co-dependent and
  8
      conspiratorial scheme in importing, marketing, advertising, labeling, packaging, distributing, and
  9
      selling Pampa Octopus, available in the following flavor varieties: (1) Pampa Octopus in Garlic
 10
      Sauce; (2) Pampa Giant Spiced Octopus in Marinara Sauce; and (3) Pampa Fancy Octopus in
 11
      Vegetable Oil (collectively the “Product”), based on false, deceptive, unfair, and/or misleading
 12
      affirmative representations and omissions that are likely to mislead reasonable consumers who
 13
      purchased the Product, like Plaintiff and members of the proposed Class, because the Product is
 14
      not Octopus, but is actually Squid (also known as Calamari). Squid is a lower quality form of
 15
      seafood that is cheaper than Octopus.
 16
             2.      The Product’s uniform misrepresentations and omissions deceive and mislead
 17
      reasonable consumers to believe that the Product is Octopus, when in reality, it is Squid, which is
 18
      cheaper, lower quality and more abundant than Octopus. Octopus is a rarer and more highly
 19
      sought-after food delicacy than Squid.
 20
             3.      As the supplier, packager, and importer of the Squid, Cerqueira knows or should
 21
      know that it is not Octopus. As the distributer of the Squid, Transnational knows or should know
 22
      that it is not Octopus. However, despite this, Defendants jointly caused the Squid to be imported,
 23
      supplied, and marketed to United States consumers as Octopus. Defendants both profit far more
 24
      by selling cheap Squid as Octopus, to the detriment of reasonable consumers, like Plaintiff and
 25
      members of the Class.
 26
             4.      Plaintiff and members of the putative Class have suffered injury in fact, lost
 27
      money or property, and suffered economic damages as a result of Defendants’ wrongful conduct
 28

                                                      2                       First Amended Complaint
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      in calling the Product Octopus, when it is really Squid. The Product is simply not what it was
  1
      represented to be.
  2
              5.      Plaintiff brings this class action individually, and on behalf of all other similarly
  3
      situated purchasers of the Product, throughout the United States—or alternatively throughout the
  4
      State of California (“Class”)—during the Class Period (defined as the period extending four-years
  5
      prior to the date of filing Plaintiff’s initial Complaint, up to and including the date that Notice has
  6
      been provided to the Class), seeking actual damages, statutory damages, punitive damages,
  7
      restitution, disgorgement, injunctive relief, and all other available remedies and relief against
  8
      Defendants, for their unlawful distribution, sales, marketing, and advertising of the Product as
  9
      being Octopus when it is really Squid.
 10
              6.      Plaintiff expressly does not seek to impose or enforce any obligations, laws, rules,
 11
      or regulations on the Defendants above or beyond those required by federal law.
 12
                                       II. JURISDICTION AND VENUE
 13
              7.      This Court has jurisdiction over the subject matter presented by this Complaint
 14
      because it is a class action arising under the Class Action Fairness Act of 2005 (“CAFA”), Pub.
 15
      L. No. 109-2, 119 Stat. 4 (2005), which explicitly provides for the original jurisdiction of the
 16
      Federal Courts of any class action in which any member of the plaintiff class is a citizen of a state
 17
      different from any defendant, and in which the matter in controversy exceeds in the aggregate the
 18
      sum of $5,000,000.00, exclusive of interest and costs.
 19
              8.      Pursuant to 28 U.S.C. § 1332(d)(2)(A), Plaintiff alleges that the total claims of the
 20
      individual members of the Plaintiff Class in this action are in excess of $5,000,000.00, in the
 21
      aggregate, exclusive of interest and costs, and as set forth below, diversity of citizenship exists
 22
      under CAFA because Plaintiff is a citizen of the State of California, and Defendants can be
 23
      considered citizens of States other than California. This Court has personal jurisdiction over
 24
      Defendants because, inter alia, Plaintiff’s claims against Defendants accrued within this
 25
      jurisdiction and judicial District.
 26
              9.      Venue is proper in this District under 28 U.S.C. § 1391(b)(2), because Defendants
 27
      conduct business in, and may be found in, this judicial District, and a substantial part of the
 28

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      events or omissions giving rise to Plaintiff’s claims occurred in this judicial District.       The
  1
      Declaration of Benjamin M. Lopatin, pursuant to Civil Code § 1780(c) of the Consumers Legal
  2
      Remedies Act, Civil Code §§ 1750, et seq. (“CLRA”), regarding venue, submitted concurrently
  3
      with Plaintiff’s initial Complaint [D.E. 1-2] and is fully incorporated herein by reference.
  4
                                                III. PARTIES
  5
             10.     Plaintiff, Vivian Lejbman, is an individual, over the age of 18, and is a citizen of
  6
      the State of California, and resident of San Diego County.
  7
             11.     Plaintiff believes the allegations contained herein to be true. All allegations herein
  8
      are based on information and belief and investigation of Counsel and are likely to have
  9
      evidentiary support after a reasonable opportunity to conduct discovery.
 10
             12.     Transnational Foods, Inc., is a for profit corporation organized under the laws of
 11
      the State of Florida, with its principal place of business located at 1110 Brickell Ave., Suite 808,
 12
      Miami, FL 33131. Transnational lists with the California Secretary of State, a Registered Agent
 13
      designated as Corporate Creations Network Inc., located at 1430 Truxtun Avenue, 5th
 14
      Floor, Bakersfield, California 93301. Transnational can be considered a “citizen” of the State of
 15
      Florida for diversity purposes.
 16
             13.     At all times material hereto, Cerqueira was and is a foreign for-profit
 17
      corporation, located in Spain at Calle de Tomas Alonso, 80, 36208 Vigo, Pontevedra, Galicia.
 18
      Cerqueira has substantial business relationships in the United States, by virtue of its
 19
      partnerships, joint ventures, and/or contractual relationships with United States based entities
 20
      it does business with and/or that sell its food products throughout the Country, including
 21
      Transnational. Cerqueira has also engaged in substantial activity within the State of
 22
      California, by, inter alia, having conspired to have Cerqueira’s Squid sold as being Octopus, and
 23
      has, therefore, subjected itself to the jurisdiction of the Courts of this State, pursuant to
 24
      Cal. Civ. Proc. Code § 410.10 (California’s Long-Arm Statute).
 25
             14.     Plaintiff is informed and believes, and thereon alleges, that Defendants and its
 26
      employees, subsidiaries, affiliates and other related entities, were, agents, servants and employees
 27
      of each other, and, each was acting within the purpose and scope of said agency and employment.
 28

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                15.   Whenever referring to any acts or transactions of Defendants, such allegations
  1
      shall be deemed to mean that the principals, officers, directors, employees, agents, and/or
  2
      representatives of Defendants committed, knew of, performed, authorized, ratified and/or directed
  3
      such act or transaction for Defendants while engaged in the scope of their duties.
  4
                                      IV. FACTUAL ALLEGATIONS
  5
                16.   Throughout the Class Period, Transnational Foods, Inc. (“Transnational”) has
  6
      represented, advertised, marketed, labeled, distributed, and sold Squid (also known as
  7
      Jumbo/Giant Squid) as being Octopus in its Pampa Octopus, available in the following flavor
  8
      varieties: (1) Pampa Octopus in Garlic Sauce; (2) Pampa Giant Spiced Octopus in Marinara
  9
      Sauce; and (3) Pampa Fancy Octopus in Vegetable Oil (collectively the “Product”).
 10
                17.   Throughout the Class Period, Conservas Cerqueira, S.A. (“Cerqueira”), has
 11
      processed, packaged, imported, supplied, distributed, represented and sold the Squid in the
 12
      Product as being Octopus, and otherwise conspired and acted in concert with Transnational in the
 13
      unlawful scheme. Moreover, based upon information and belief, Cerqueira declared the Squid to
 14
      customs officials as Octopus to aid and abet Defendants’ scheme.
 15
                18.   Transnational is a food product brand with an array of grains, condiments, rice,
 16
      seafood, pastas, olive oils, marinades and such other foods, which appear to cater to
 17
      predominantly Hispanic communities. Its food products are sold at small and large retailers,
 18
      including supermarkets, pharmacy chains, big box stores, and online throughout the United
 19
      States.
 20
                19.   Cerqueira is a large seafood supplier and cannery that supplies various seafood
 21
      products to United States based brands. At all times relevant, and during the relevant class
 22
      period, it supplied and supplies the Product to Transnational.
 23
                20.   Transnational has, with the assistance of Cerqueira, sold the Squid passed off as
 24
      Octopus to consumers.
 25
                21.   The word “Octopus” or “Pulpo” is prominently displayed on the label of the
 26
      Product. Nowhere on the box does it state that the Octopus Products contain Squid instead of
 27
 28

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      Octopus. This bait and switch is occurring, and has occurred throughout the Class Period,
  1
      causing harm and economic damages to purchasers of the Product.
  2
             22.     An example of the Product’s packaging is below for demonstrative purposes:
  3
  4
  5
  6
  7
  8
  9

 10
 11
 12
 13
 14
 15
 16
 17
 18

 19                                     The Product is Not Octopus
 20          23.     Octopus and Squid are both cephalopods, but are otherwise completely
 21   different species.
 22          24.     The scientific classification for Jumbo Squid, for example, is as follows:
 23                    Kingdom             Animalia
 24                    Phylum              Mollusca
 25                    Class               Cephalopoda
 26                    Order               Teuthida
 27                    Family              Ommastrephidae
 28                    Genus               Dosidicus
                                                       6                       First Amended Complaint
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                        Species             Dosidicus gigas
  1

  2          25.     The scientific classification of Octopus is as follows:

  3                     Kingdom              Animalia

  4                     Phylum               Mollusca

  5                     Class                Cephalopoda

  6                     Order                Octopoda

  7                     Family               Octopodidae

  8                     Genus                Octopus

  9                     Species              Octopus vulgaris

 10          26.     In recent years, the cost of Octopus has increased rapidly as Octopus

 11   populations have dwindled around the world due to over-fishing. In 2005, the European Union

 12   imposed new restrictions on Octopus fishing because the Octopus might be at risk of dying out

 13   from overfishing. Commission Takes Action to Safeguard Octopus Stocks, Oct. 12, 2005,

 14   European Commission Press Release, available at http://europa.eu/rapid/press-release_IP-05-

 15   1262_en.htm.

 16          27.     In July 2014, it was reported that Octopus supplies had been falling, causing a

 17   dramatic increase in the price of Octopus (“[a] 45 percent decline in supply is pushing prices of

 18   octopus in Japan 50 to 60 percent higher than the same time period last year. In May, the volume

 19   of frozen uncooked octopus sold at public wholesale auctions in Tokyo was down 16 percent,

 20   while the price was up 30 percent from the same month in 2013”). Loew, Chris, Japan Octopus

 21   Prices Up On Short West African Supply, July 17, 2014, SeafoodSource.com, available at

 22   https://www.seafoodsource.com/news/supply-trade/japan-octopus-prices-up-on-short-west-

 23   african-supply.

 24          28.     At the same time that Octopus populations have been declining, Squid

 25   populations have been thriving. In May 2013, Stanford biologist William Gilly gave a TED talk

 26   in which he explained that the Squid is thriving due to its ability to adapt to changing ocean

 27   conditions caused by global warming. See TEDxStanford Highlights Breakthroughs in Research

 28

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      and    Creativity,    Stanford-style,   May     13,   2013,     Stanford    News,     available   at
  1
      http://news.stanford.edu/news/2013/may/tedx-at-stanford-051213.html.
  2
             29.     As a result of these developments, the cost of Octopus has risen dramatically
  3
      compared to the cost of Squid. In addition, due to similarities in texture, Squid can easily be
  4
      substituted for, and falsely represented as Octopus, particularly here, when sold in a sauce like
  5
      garlic sauce or marinara sauce.
  6
             30.     Plaintiff is informed and believes that Transnational and Cerqueira have either
  7
      negligently and/or intentionally replaced the Octopus in its Octopus Products with Squid as a
  8
      cheap substitute to save money because they knew an ordinary consumer would have trouble
  9
      distinguishing the difference.
 10
             31.    Defendants have unlawfully profited through their marketing, advertising, labeling,
 11
      packaging, distributing, and selling of the Product as being Octopus on the front labeling of the
 12
      Product, because the statement is a false, deceptive, and an unfair affirmative representation
 13
      likely to mislead reasonable consumers who purchase the Product believing it to be Octopus,
 14
      when it is really Squid.
 15
             32.     Accordingly, the advertising, marketing, and labeling for the Product is deceptive
 16
      and misleading because reasonable consumers are led to believe that the Product is of a higher
 17
      grade and quality than its true value because it is not Octopus, but rather Squid.
 18
             33.     Defendants capitalize on their superior knowledge of the Octopus and Squid
 19
      industry, and consumers’ inability to discern the truth about the Product from its label.
 20
             34.     Defendants induce consumers to purchase the Product by representing that the
 21
      Product is Octopus.
 22
             35.     Defendants, as reputable and knowledgeable suppliers and sellers of seafood
 23
      products, know or should know that the Product is not Octopus.
 24
               Defendants Acted Together in Misrepresenting that the Product is Octopus
 25
             36.    Upon information and belief, Cerqueira directly engages in and assists with the
 26
      deceptive misrepresentation that the Product is Octopus when it is really Squid.
 27
 28

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             37.    Cerqueira has packaged, imported, supplied, distributed, canned, represented and
  1
      sold the Squid in the Product as being Octopus, and otherwise conspired and acted in concert with
  2
      Transnational in the unlawful scheme.
  3
             38.    Cerqueira is directly involved with the packaging of the Product. Cerqueira’s
  4
      packager code is imprinted on the Product’s packaging.
  5
             39.      Upon information and belief, Cerqueira, had or has the right to control the nature
  6
      and content of Transnational’s labels, and/or did control them, and is thus a participant in the
  7
      consumer transactions with Plaintiff and members of the Class. Defendants either jointly decided,
  8
      or were complicit in each conduct to falsely label the Product.
  9
             40.      Upon information and belief, Defendant, Cerqueira, also misrepresented, omitted,
 10
      or falsified information in export documentation in Spain, and/or import documentation in the
 11
      United States, to aid and abet in Defendants’ unlawful scheme.
 12
             41.      Notwithstanding Cerqueira’s directives to Transnational, Transnational is required
 13
      to abide by, and not circumvent, state consumer protection laws.
 14
             42.      Transnational could and should have resisted Cerqueira’s instructions by either
 15
      calling the Product Squid, instead of Octopus, or refusing to purchase from Cerqueira. Instead,
 16
      Defendants agreed to the scheme to further their respective economic interests to the detriment of
 17
      United States consumers. Cerqueira canned and packaged the Squid, despite importing it as
 18
      Octopus, and then Transnational sold the Product consumers under its brand – Defendants acted
 19
      in concert, each carrying out their respective roles in the supply chain to carry out their scheme.
 20
             43.      Transnational imports and distributes food products, “either under its own brands
 21
      or private labels, to supermarkets, convenience stores and other retail outlets throughout the
 22
      United States.” See Mann, Jr., Joseph A., Miami-Based Transnational Foods Sells Quality, Low-
 23
      Cost    Foods      Nationwide,      MiamiHerald.com,       Dec.     27,     2016,    available        at
 24
      http://www.miamiherald.com/news/business/biz-monday/article123145489.html.                       Thus,
 25
      Transnational is subject to nationwide jurisdiction as it has purposely availed itself to every State
 26
      in the United States.
 27
 28

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              44.       Likewise, Cerqueira, as a foreign company, is subject to nationwide jurisdiction.
   1
       Because it’s Squid is sold nationwide, and it does not have a principle place of business or
   2
       incorporation in any U.S. State, no State’s interest is greater than another’s in policing
   3
       Cerqueira’s conduct.
   4
              45.       Moreover, because the Products are sold nationwide with the identical
   5
       misrepresentation to every consumer, no matter the physical purchase location or whether
   6
       purchased online, was deceived, misled, and injured in the same way.
   7
              46.       Defendants’ businesses models and business strategies are intertwined and
   8
       connected. For example, “our people travel constantly to ensure that each supplier meets the
   9
       highest quality standards and the specs required by our customers. We’re not just importers.”
  10
       “The company owns shares in some suppliers, so it plays an active role in choosing the
  11
       agricultural products and overseeing the production, packaging and marketing processes.” See id.
  12
              47.       Therefore, both Defendants have actual knowledge of, and participated in, this
  13
       seafood fraud.
  14
              48.       Defendants have acted in concert to further their individual and joint ventures.
  15
              49.       Defendants are individually, and jointly and severally liable, for each other’s
  16
       conduct and the resultant harm to Plaintiff and the Class.
  17
              50.       Defendants engaged in a civil conspiracy in that they agreed to commit the
  18
       unlawful act of selling mislabeled seafood to U.S. consumers and they each committed the overt
  19
       acts described herein for purposes of furthering the conspiracy. Defendants conspiratorial acts
  20
       caused the Product’s to be mislabeled and resulted in economic harm to Plaintiff and the Class.
  21
       Both Defendants had knowledge of the seafood fraud and understood their mutual goals of
  22
       extracting unjust profits from U.S. consumers. Based on information and belief Defendants’
  23
       agreement to further the scheme occurred both in the U.S. and abroad.
  24
              51.       Additionally, and/or alternatively, Defendants acted in concert with one another. A
  25
       concert of action between the Defendants occurred because there was an understanding between
  26
       them, either expressly or tacitly, to participate in a common plan to deceive consumers. Each
  27
       Defendant played their respective role in the wrongful conduct for their common benefit.
  28

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              52.     Additionally, and/or alternatively, Defendants aided and abetted in each other’s
   1
       wrongful conduct. Cerqueira aided Transnational in its unlawful labeling by packaging and
   2
       supplying canned Squid rather an Octopus, and Transnational aided Cerqueira in importing and
   3
       supplying canned Squid by agreeing to purchase and sell it as Squid for purchase by consumers.
   4
       Based on the above, each Defendant was aware of the other’s wrongful acts, and each gave
   5
       substantial assistance or encouragement to one another.
   6
              53.     Defendants knowingly and intentionally hid the fact that the Product contains
   7
       Squid so they could earn additional profit at the consumer’s expense, like Plaintiff and members
   8
       of the Class, who believed they were purchasing Octopus when they purchased the Product.
   9
              54.     As for a true pricing comparison of Octopus and Squid, as of April 7, 2017, on
  10
       Amazon.com, the Pampa Octopus in Garlic Sauce costs $53.94/4oz. tins; 6-count ($8.99/tin); and
  11
       Pampa Giant Calamari in Garlic Sauce costs $29.49/4oz. tins; 6-count ($4.91/tin).
  12
              55.     Likewise, Pampa Spiced Octopus in Marinara Sauce, as of April 7, 2017, from
  13
       Amazon.com, costs $23.98/4oz. tins; 3-count ($7.99/tin), and Pampa Giant Spiced Calamari in
  14
       Marinara Sauce, costs $29.49/4oz. tins; 6-count ($4.91/tin).
  15
              56.     The pricing comparison of the Pampa Octopus Products and Pampa’s
  16
       Calamari/Squid products, shows that each Octopus product costs $8.99 and $7.99, respectively,
  17
       while the two Squid products cost $4.91 each.
  18
              57.     Therefore, Defendants misrepresented that their Squid products were Octopus
  19
       during the Class Period, in order to charge a price premium for Squid, by making Plaintiff and
  20
       Class Members believe it was Octopus, rather than Squid.
  21
                                      Plaintiff’s Purchase of the Product
  22
              58.     Plaintiff has purchased the Product in this judicial District during the Class Period
  23
       (defined below), in reliance on the misleading labeling representations that the Product is
  24
       Octopus. Based on the Octopus claims on the Product’s front label, Plaintiff believed that the
  25
       Product was Octopus when she purchased the Product, and this fact was the material reason for
  26
       Plaintiff purchasing the Product.
  27
  28

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                59.   More specifically, Plaintiff has purchased the Product, Pampa Spiced Octopus in
   1
       Marinara Sauce, during 2016, from a Wal-Mart store located in San Diego County, California.
   2
       However, subsequent to purchasing the Product Plaintiff discovered that the Product is not
   3
       Octopus, which is what Plaintiff intended to purchase.
   4
                60.   Had the Product not claimed to be Octopus, Plaintiff would not have purchased it,
   5
       or alternatively, would not have purchased it at the premium price she did had she known it was
   6
       Squid.
   7
                61.   Based upon independent work-product investigation of counsel, the Product
   8
       purchased by Plaintiff was Squid, not Octopus. Likewise, based upon information and belief the
   9
       Products purchased by consumers nationwide were Squid, not Octopus.
  10
                62.   Plaintiff would not have purchased the Product at all had Defendants not made the
  11
       Octopus claims, which she read on the label and relied upon in making her purchase decision. At
  12
       a minimum, Plaintiff would not have paid as much for the Product or purchased the Product at the
  13
       price premium she did. Plaintiff and members of the putative Class relied, to their detriment, on
  14
       Defendants’ material statements regarding the Product being Octopus in making their decision to
  15
       purchase the Product.
  16
                63.   Reasonable consumers, like Plaintiff and members of the putative Class, must and
  17
       do rely on label representations and information on the Product’s label in making their decision to
  18
       purchase the Product. Plaintiff and members of the putative Class were among the intended
  19
       recipients of Defendants’ deceptive representations and/or omissions.
  20
                                 Defendants’ Unlawful Conduct is Ongoing
  21
                64.   Defendants’ false, misleading, and deceptive misrepresentations and/or omissions
  22
       are likely to continue to deceive and mislead reasonable consumers, and the general public.
  23
       Absent an enforceable injunctive order from this Court Defendants will continue to deceive and
  24
       mislead Plaintiff and members of the putative Class.,.
  25
                65.   Defendants made the deceptive representations and/or omissions related to the
  26
       Product with the intent to induce Plaintiff’s and other members of the putative Class’ purchase of
  27
       the Product.
  28

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              66.      Defendants’ deceptive representations and/or omissions are material in that a
   1
       reasonable person would attach importance to such information and would be induced to act upon
   2
       such information in making purchase decisions.
   3
              67.      Thus, Plaintiff’s and members of the putative Class’ reliance upon Defendants’
   4
       misleading and deceptive representations and/or omissions has been met and may be presumed.
   5
              68.      Furthermore, the materiality of those representations and/or omissions also
   6
       establishes causation between Defendants’ conduct and the injuries sustained by Plaintiff and
   7
       members of the putative Class because they would not have purchased the Product if it did not
   8
       claim to be “Octopus,” or alternatively, they would not have paid as much for it.
   9
              69.      As an immediate, direct, and proximate result of Defendants’ false, misleading,
  10
       and deceptive representations and/or omissions, Defendants injured Plaintiff and members of the
  11
       putative Class in that Plaintiff and members of the putative Class:
  12
                    a. paid a sum of money for Product that were not as represented;
  13
                    b. paid a premium price for Product that were not as represented;
  14
                    c. were deprived the benefit of the bargain because the Product they purchased were
  15
                       different from what Defendants warranted;
  16
                    d. were deprived the benefit of the bargain because the Product they purchased had
  17
                       less value than what Defendants represented;
  18
                    e. did not receive the Product that measured up to their expectations as created by
  19
                       Defendants;
  20
                    f. received a Product that contained Squid, which was not the Octopus that was
  21
                       represented by Defendants;
  22
                    g. received a Product that was of a different quality than what Defendants promised;
  23
                       and
  24
                    h. were denied the benefit of truthful labels.
  25
              70.      Had Defendants not made the false, misleading, and deceptive representations
  26
       and/or omissions, Plaintiff and members of the putative Class would not have purchased the
  27
       Product and thus would not have been injured.
  28

                                                         13                    First Amended Complaint
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              71.     Plaintiff and members of the putative Class all paid money for the Product.
   1
              72.     However, Plaintiff and members of the putative Class did not obtain the full value
   2
       of the advertised Product due to Defendants’ misrepresentations and/or omissions.
   3
              73.     .
   4
              74.     Plaintiff and putative Class members suffered economic damages as a result of
   5
       purchasing the valueless, worthless, and/or inferior Product in light of what they intended to
   6
       purchase.
   7
              75.     Specifically, Plaintiff contends there is no legal market value for an unlawfully
   8
       misbranded Product, so Plaintiff and members of the Class are entitled to reimbursement of the
   9
       full purchase price for each and every purchase of the Product during the Class Period.
  10
              76.     Plaintiff and members of the putative Class are further entitled to declaratory and
  11
       equitable relief, including, but not limited to, injunctive relief, restitution, and/or disgorgement.
  12
       Plaintiff and members of the putative Class seek injunctive relief in the form of an Order
  13
       prohibiting Defendants from falsely and misleading selling the Product.
  14
              77.     Plaintiff also seeks restitution for monies wrongfully obtained by Defendants and
  15
       disgorgement of all ill-gotten revenues and/or profits from the sale of the Product.
  16
              78.     Plaintiff would like to, and intends to, continue purchasing the Product in the
  17
       future. However, as a result of Defendants’ wrongful acts, Plaintiff and other reasonable
  18
       consumers can no longer rely on the truth and accuracy of Defendants’ Products. Absent an
  19
       injunctive order, Plaintiff and other reasonable consumers are prevented from making a
  20
       meaningful and informed choice about seafood they are purchasing, and are otherwise at
  21
       continued risk of real and immediate threat of repeated injury, including purchasing deceptively
  22
       labeled and packaged Products sold at inflated prices above their true market value. Plaintiff is
  23
       seeking an enforceable injunctive order preventing Defendants from continuing to sell the
  24
       Product’s unless and until all Product’s contain Octopus, not Squid. Plaintiff also seeks an
  25
       injunctive order prohibiting Cerqueira from importing any Squid that is represented to be Octopus
  26
       in connection with all other brands that it supplies to. At the present, Defendants’ labels cannot
  27
       be trusted, and she continues to be deceived.
  28

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   1
                                        V. CLASS ACTION ALLEGATIONS
   2
              79.     Plaintiff re-alleges and incorporates by reference the allegations set forth in each
   3
       of the preceding paragraphs of this Complaint.
   4
              80.     This action is maintainable as a class action under Rule 23(a) and (b)(3) of the
   5
       Federal Rules of Civil Procedure.
   6
              81.     Pursuant to Federal Rule of Civil Procedure 23 and Cal. Civil Code § 1781,
   7
       Plaintiff brings this class action and seeks certification of the claims and certain issues in this
   8
       action on behalf of a Class defined as:
   9
                      all persons in the United States who have purchased the
  10
                      Product for personal use and not for resale, from the period
  11
                      extending four-years prior to the date of filing this Complaint,
  12
                      up to and including the date that Notice has been provided to
  13
                      the Class.
  14
              82.     In the alternative to a nationwide Class, Plaintiff seeks certification of the claims
  15
       and certain issues in this action, pursuant to Federal Rule of Civil Procedure 23 and Cal. Civil
  16
       Code § 1781, on behalf of a Class defined as:
  17
                      all persons in the State of California who have purchased the
  18
                      Product for personal use and not for resale, from the period
  19
                      extending four-years prior to the date of filing this Complaint,
  20
                      up to and including the date that Notice has been provided to
  21
                      the Class.
  22
              83.     Excluded from the Class are governmental entities, Defendants, any entity in
  23
       which Defendants have a controlling interest, and Defendants’ officers, directors, affiliates, legal
  24
       representatives, employees, co-conspirators, successors, subsidiaries, and assigns. Also, excluded
  25
       from the Class is any judge, justice, or judicial officer presiding over this matter and the members
  26
       of their immediate families and judicial staff.
  27
  28

                                                         15                     First Amended Complaint
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              84.      Plaintiff reserves the right to amend the Class definition if further information and
   1
       discovery indicates that the Class definition should be narrowed, expanded or otherwise modified
   2
              85.      Certification of Plaintiff’s claims for class-wide treatment is appropriate because
   3
       Plaintiff can prove the elements of Plaintiff’s claims on a class-wide basis using the same
   4
       evidence as would be used to prove those claims in individual actions alleging the same claims.
   5
       Numerosity—Federal Rule of Civil Procedure 23(a)(1)
   6
              86.      The members of the Class are so numerous that it is impracticable to bring all
   7
       members of the Class before the Court, and thus, individual joinder of all class members is
   8
       impracticable. See also Cal. Civil Code § 1781(b)(1).
   9
              87.      The precise number of members of the Class is unknown to Plaintiff, but it is clear
  10
       that the number greatly exceeds the number that would make joinder practicable, particularly
  11
       given Defendants’ comprehensive distribution and sales network.
  12
              88.      Members of the Class may be notified of the pendency of this action by
  13
       recognized, Court-approved notice dissemination methods, which may include U.S. Mail,
  14
       electronic mail, Internet postings, and/or published notice.
  15
       Commonality and Predominance—Federal Rules of Civil Procedure 23(a)(2) and (b)(3)
  16
              89.      This action involves substantially similar common questions of law or fact, which
  17
       predominate over any questions affecting individual members of the Class. See also Cal. Civil
  18
       Code § 1781(b)(2).
  19
              90.      All members of the Class were exposed to Defendants’ deceptive and misleading
  20
       advertising and marketing claims and/or omissions alleged herein.
  21
              91.      Furthermore, common questions of law of fact include:
  22
                    a) Whether Defendants engaged in the conduct as alleged herein;
  23
                    b) Whether Defendants’ practices and representations related to the marketing,
  24
                       labeling and sales of the Product was unfair, deceptive, fraudulent, and/or unlawful
  25
                       in any respect, thereby violating Cal. Bus. & Prof. C. §§ 17200, et seq.;
  26
  27
  28

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                    c) Whether Defendants’ practices and representations related to the marketing,
   1
                       labeling and sales of the Product was unfair, deceptive and/or unlawful in any
   2
                       respect, thereby violating Cal. Bus. & Prof. C. §§ 17500, et seq.;
   3
                    d) Whether Defendants violated Cal. Civ. C. §§ 1750, et seq. with their practices and
   4
                       representations related to the marketing, labeling and sales of the Product;
   5
                    e) Whether Plaintiff and the other members of the Class are entitled to actual,
   6
                       statutory, or other forms of damages, and/or other monetary relief; and
   7
                    f) Whether Plaintiff and the other members of the Class are entitled to declaratory
   8
                       and equitable relief, including but not limited to injunctive relief, restitution, and
   9
                       disgorgement.
  10
              92.      Defendants engaged in a common course of conduct in contravention of the laws
  11
       Plaintiff seeks to enforce, individually and on behalf of the other members of the Class.
  12
              93.      Similar or identical statutory and common law violations, business practices, and
  13
       injuries are involved. Individual questions, if any, pale by comparison, in both quality and
  14
       quantity, to the numerous common questions that dominate this action. Moreover, the common
  15
       questions will yield common answers.
  16
       Typicality—Federal Rule of Civil Procedure 23(a)(3)
  17
              94.      Plaintiff’s claims or defenses are typical of the claims or defenses of the members
  18
       of the Class. See also Cal. Civil Code § 1781(b)(3).
  19
              95.      Plaintiff and members of the Class were comparably injured through Defendants’
  20
       uniform misconduct described herein, and there are no defenses available to Defendants that are
  21
       unique to Plaintiff.
  22
       Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4)
  23
              96.      Plaintiff will fairly and adequately protect the interests of the Class. See also Cal.
  24
       Civil Code § 1781(b)(4). Plaintiff is an adequate representative of the Class because, Plaintiff’s
  25
       interests align with, and do not conflict with, the interests of members of the Class that Plaintiff
  26
       seeks to represent. The Class’ interests will be fairly and adequately protected by Plaintiff
  27
       because Plaintiff has retained counsel competent and experienced in consumer protection and
  28

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       complex class action litigation, and Plaintiff will prosecute this action diligently and vigorously.
   1
       Plaintiff’s counsel has represented consumers in a variety of class actions where they have sought
   2
       to protect consumers from fraudulent and deceptive practices.
   3
       Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2)
   4
              97.     Defendants have acted or refused to act on grounds generally applicable to
   5
       Plaintiff and the other members of the Class, thereby making appropriate final injunctive relief
   6
       and declaratory relief, as described herein, with respect to the members of the Class as a whole.
   7
       Predominance —Federal Rule of Civil Procedure 23(b)(3)
   8
              98.     As set forth in detail herein, common issues of fact and law predominate because
   9
       all of Plaintiff’s claims are based on a uniform false and misleading advertising message which
  10
       all class members were necessarily exposed to.
  11
       Superiority—Federal Rule of Civil Procedure 23(b)(3)
  12
              99.     A class action is superior to any other available means for the fair and efficient
  13
       adjudication of this controversy, and no unusual difficulties are likely to be encountered in the
  14
       management of this class action. The damages or other financial detriment suffered by Plaintiff
  15
       and the other members of the Class are relatively small compared to the burden and expense that
  16
       would be required to individually litigate their claims against Defendants, so it would be
  17
       impracticable for members of the Class to individually seek redress for Defendants’ wrongful
  18
       conduct.
  19
              100.    Even if the members of the Class could afford individual litigation, the court
  20
       system could not. Individualized litigation creates a potential for inconsistent or contradictory
  21
       judgments, and increases the delay and expense to all parties and the court system. By contrast,
  22
       the class action device presents far fewer management difficulties and provides the benefits of
  23
       single adjudication, economy of scale, and comprehensive supervision by a single court. Given
  24
       the similar nature of the members of the Class’ claims and the absence of material or dispositive
  25
       differences in laws upon which the claims are based, the Class will be easily managed by the
  26
       Court and the parties.
  27
                                          VI. CAUSES OF ACTION
  28

                                                        18                      First Amended Complaint
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                                                      COUNT I
   1
                        Violation of California Business & Professions Code §§ 17500 et seq.
   2
          (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Transnational
   3
                                                  Foods, Inc. Only)
   4
                 101.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
   5
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
   6
       herein verbatim.
   7
                 102.    Throughout the Class Period, Defendant advertised, labeled, packaged, marketed,
   8
       distributed, and sold the Product unambiguously claiming it to be Octopus prominently on the
   9
       Product’s front packaging and labeling. However, the Product is not Octopus because it is made
  10
       with Squid, an inferior form of seafood.
  11
                 103.    Defendant’s    advertisements,   mislabeling    and   packaging     and   marketing
  12
       representations are misleading, untrue, and likely to deceive reasonable consumers.
  13
                 104.    Defendant engaged in its advertising, mislabeling and packaging and marketing
  14
       campaign with intent to directly induce customers to purchase the Product based on false claims.
  15
                 105.    In violation of California Business and Professions Code, sections 17500, et seq.,
  16
       known as California’s False Advertising Law (“FAL”), Defendant disseminated, or caused to be
  17
       disseminated, the deceptive Product’s labeling and advertising representations.
  18
                 106.    Defendant’s labeling and advertising representations for the Product is by its very
  19
       nature unfair, deceptive and/or unlawful within the meaning of Cal. Bus. & Prof. Code §§ 17500
  20
       et seq.
  21
                 107.    According to Cal. Bus. & Prof. Code § 17505: “No person shall state, in an
  22
       advertisement of his goods, that he is a producer, manufacturer, processor, wholesaler, or
  23
       importer, or that he owns or controls a factory or other source of supply of goods when such is
  24
       not the fact, and no person shall in any other manner misrepresent the character, extent, volume,
  25
       or type of his business.”
  26
                 108.    Under the FAL, “person” includes any individual, partnership, firm, association, or
  27
       corporation.” Cal. Bus. & Prof. Code § 17506.
  28

                                                          19                       First Amended Complaint
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                109.    The representations were at all material times hereto likely to deceive reasonable
   1
       consumers, including Plaintiff and members of the Class.
   2
                110.    Defendant violated Cal. Bus. & Prof. Code §§ 17500 et seq., in making and
   3
       disseminating the deceptive representations alleged herein.
   4
                111.    Defendant knew or should have known that the representations were false,
   5
       misleading, and likely to deceive reasonable consumers, such as Plaintiff and members of the
   6
       Class.
   7
                112.    As a direct and proximate result of Defendant’s wrongful conduct, Plaintiff and
   8
       similarly situated purchasers of the Product have suffered economic damages.
   9
                113.    Plaintiff was injured in fact and lost money as a result of Defendant’s conduct of
  10
       improperly advertising the Product as described herein.
  11
                114.    Plaintiff would not have purchased the Product but for Defendant’s misleading
  12
       statements about the Product.
  13
                115.    Pursuant to Bus. & Prof. Code § 17535, Plaintiff, individually and on behalf of all
  14
       similarly situated purchasers, seeks an order of this Court requiring Defendant to restore to
  15
       purchasers of the Product all monies that may have been acquired by Defendant as a result of
  16
       such false, unfair, deceptive and/or unlawful acts or practices. Plaintiff and members of the Class
  17
       seek declaratory relief, restitution for monies wrongfully obtained, disgorgement of ill-gotten
  18
       revenues and/or profits, injunctive relief enjoining Defendant from disseminating its untrue and
  19
       misleading statements, and other relief allowable under California Business & Professions Code
  20
       Section 17535.
  21
                116.    Furthermore, as a result of Defendant’s violations of the False Advertising Law,
  22
       Cal. Bus. & Prof. Code §§ 17500, et seq., Plaintiff and similarly situated purchasers of the
  23
       Product are entitled to restitution for out-of-pocket expenses and economic harm.
  24
                117.    Pursuant to Civil Code § 3287(a), Plaintiff and similarly situated purchasers of the
  25
       Product are further entitled to pre-judgment interest as a direct and proximate result of
  26
       Defendants’ wrongful conduct. The amount on which interest is to be calculated is a sum certain
  27
  28

                                                         20                      First Amended Complaint
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       and capable of calculation, and Plaintiff and similarly situated purchasers of the Product are
   1
       entitled to interest in an amount according to proof.
   2
                                                   COUNT II
   3
         Violation of the Unfair and Fraudulent Prongs of Cal. Bus. & Prof. Code §§ 17200, et seq.
   4
         (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Transnational
   5
                                                Foods, Inc. Only)
   6
              118.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
   7
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
   8
       herein verbatim.
   9
              119.    This cause of action is brought on behalf of Plaintiff and members of the general
  10
       public, pursuant to California Business and Professions Code, sections 17200 et seq., known as
  11
       California’s Unfair Competition Law (“UCL”), which provides that “unfair competition shall
  12
       mean and include any unlawful, unfair or deceptive business act or practice and unfair, deceptive,
  13
       untrue or misleading advertising and any act prohibited by Chapter I (commencing with Section
  14
       17500) as Part 3 of Division 7 of the Business and Professions Code.”
  15
              120.    According to Cal. Bus. & Prof. Code § 17500: “It is unlawful for any person, firm,
  16
       corporation or association, or any employee thereof with intent directly or indirectly to dispose of
  17
       real or personal property or to perform services, professional or otherwise, or anything of any
  18
       nature whatsoever or to induce the public to enter into any obligation relating thereto, to make or
  19
       disseminate or cause to be made or disseminated before the public in this state, or to make or
  20
       disseminate or cause to be made or disseminated from this state before the public in any state, in
  21
       any newspaper or other publication, or any advertising device, or by public outcry or
  22
       proclamation, or in any other manner or means whatever, including over the Internet, any
  23
       statement, concerning that real or personal property or those services, professional or otherwise,
  24
       or concerning any circumstance or matter of fact connected with the proposed performance or
  25
       disposition thereof, which is untrue or misleading, and which is known, or which by the exercise
  26
       of reasonable care should be known, to be untrue or misleading, or for any person, firm, or
  27
       corporation to so make or disseminate or cause to be so made or disseminated any such statement
  28

                                                        21                      First Amended Complaint
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       as part of a plan or scheme with the intent not to sell that personal property or those services,
   1
       professional or otherwise, so advertised at the price stated therein, or as so advertised.”
   2
              121.    In its marketing, advertising, labeling and packaging of the Product, Defendant
   3
       makes false and misleading statements regarding the uses and benefits of the Product.
   4
              122.    Throughout the Class Period, Defendant advertised, labeled, packaged, marketed,
   5
       distributed, and sold the Product unambiguously claiming it to be Octopus prominently on the
   6
       Product’s front packaging and labeling. However, the Product is not Octopus because it is made
   7
       with an inferior Squid.
   8
              123.    The misrepresentations Defendant makes about the Product constitutes an unfair
   9
       and fraudulent business practice within the meaning of California Business & Professions Code
  10
       section 17200, et seq.
  11
              124.    Defendant committed “unfair” and/or “fraudulent” business acts or practices by,
  12
       among other things: (1) engaging in conduct where the utility of such conduct, if any, is
  13
       outweighed by the gravity of the consequences to Plaintiff and members of the Class; (2)
  14
       engaging in conduct that is immoral, unethical, oppressive, unscrupulous, or substantially
  15
       injurious to Plaintiff and members of the Class; and (3) engaging in conduct that undermines or
  16
       violates the spirit or intent of the consumer protection laws alleged herein.
  17
              125.    As detailed above, Defendant’s unfair and/or fraudulent practices include
  18
       disseminating false and/or misleading representations regarding the Product.
  19
              126.    Defendant is aware that the claims it made about the Product is false, misleading,
  20
       and likely to deceive reasonable consumers.
  21
              127.    Plaintiff would not have purchased the Product but for Defendants’ misleading
  22
       statements about the Product.
  23
              128.    Plaintiff was injured in fact and lost money as a result of Defendant’s conduct.
  24
              129.    Plaintiff has standing to pursue this claim as Plaintiff has suffered injury in fact
  25
       and has lost money or property as a result of Defendants’ actions as set forth herein.
  26
              130.    Defendant’s business practices, as alleged herein, are unfair because: (1) the injury
  27
       to consumers is substantial; (2) the injury is not outweighed by any countervailing benefits to
  28

                                                         22                       First Amended Complaint
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       consumers or competition; and (3) consumers could not reasonably have avoided the information
   1
       because Defendant intentionally misled the consuming public by means of the claims made with
   2
       respect to the Product as set forth herein.
   3
              131.    Defendant’s business practices as alleged herein are fraudulent because they are
   4
       likely to deceive customers into believing the Product has characteristics, uses and benefits they
   5
       do not have.
   6
              132.    In addition, Defendant’s use of various forms of advertising media to advertise,
   7
       including the Product’s labeling, call attention to, or give publicity to, the sale of goods or
   8
       merchandise which are not as represented in any manner, which constitutes unfair competition,
   9
       unfair, deceptive, untrue or misleading advertising, and an unlawful business practice within the
  10
       meaning of Business & Professions Code sections 17200, et seq.
  11
              133.    Defendant’s wrongful business practices constituted a continuing course of
  12
       conduct of unfair competition since Defendant is marketing and selling the Product in a manner
  13
       likely to deceive the public.
  14
              134.    Defendant has peddled its misrepresentations through advertising, including the
  15
       Product’s labeling.
  16
              135.    There were reasonably available alternatives to further Defendants’ legitimate
  17
       business interests, other than the conduct described herein.
  18
              136.    Plaintiff and the putative members of the Class were misled into purchasing the
  19
       Product by Defendants’ deceptive and fraudulent conduct as alleged herein.
  20
              137.    Defendant had an improper motive (profit before accurate marketing) in its
  21
       practices related to the deceptive labeling and advertising of the Product, as set forth above.
  22
              138.    The use of such unfair and fraudulent business acts and practices was under the
  23
       sole control of Defendant, and was deceptively hidden from members of the general public in
  24
       Defendants’ marketing, advertising and labeling of the Product.
  25
              139.    As purchasers and consumers of Defendant’s Product, and as members of the
  26
       general public who purchased and consumed the Product, Plaintiff and the Class are entitled to
  27
       bring this class action seeking all available remedies under the UCL.
  28

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              140.    Pursuant to California Bus. & Prof. Code § 17203, Plaintiff, individually, and on
   1
       behalf of the Class, seeks an order of this Court for injunctive relief and disgorging and restoring
   2
       all monies that have been acquired by Defendant as a result of Defendants’ business acts or
   3
       practices described herein. Plaintiff, the Class, and the general public may be irreparably harmed
   4
       or denied an effective and complete remedy in the absence of such an order.
   5
              141.    As a result of Defendant’s violations of the UCL, Plaintiff and the Class are
   6
       entitled to restitution for out-of-pocket expenses and economic harm.
   7
              142.    Pursuant to Civil Code § 3287(a), Plaintiff and the Class are further entitled to pre-
   8
       judgment interest as a direct and proximate result of Defendants’ unfair and fraudulent conduct.
   9
       The amount on which interest is to be calculated is a sum certain and capable of calculation, and
  10
       Plaintiff and the Class are entitled to interest in an amount according to proof.
  11
                                                   COUNT III
  12
                 Violation of the Unlawful Prong of Cal. Bus. & Prof. Code §§ 17200, et seq.
  13
         (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Transnational
  14
                                                Foods, Inc. Only)
  15
              143.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
  16
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
  17
       herein verbatim.
  18
              144.    This cause of action is brought on behalf of Plaintiff and members of the Class
  19
       pursuant to California Business and Professions Code, sections 17200 et seq., known as
  20
       California’s Unfair Competition Law (“UCL”), which provides that “unfair competition shall
  21
       mean and include any unlawful, unfair or deceptive business act or practice and unfair, deceptive,
  22
       untrue or misleading advertising and any act prohibited by Chapter I (commencing with Section
  23
       17500) as Part 3 of Division 7 of the Business and Professions Code.”
  24
              145.    According to Cal. Bus. & Prof. Code § 17500: “It is unlawful for any person, firm,
  25
       corporation or association, or any employee thereof with intent directly or indirectly to dispose of
  26
       real or personal property or to perform services, professional or otherwise, or anything of any
  27
       nature whatsoever or to induce the public to enter into any obligation relating thereto, to make or
  28

                                                        24                        First Amended Complaint
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       disseminate or cause to be made or disseminated before the public in this state, or to make or
   1
       disseminate or cause to be made or disseminated from this state before the public in any state, in
   2
       any newspaper or other publication, or any advertising device, or by public outcry or
   3
       proclamation, or in any other manner or means whatever, including over the Internet, any
   4
       statement, concerning that real or personal property or those services, professional or otherwise,
   5
       or concerning any circumstance or matter of fact connected with the proposed performance or
   6
       disposition thereof, which is untrue or misleading, and which is known, or which by the exercise
   7
       of reasonable care should be known, to be untrue or misleading, or for any person, firm, or
   8
       corporation to so make or disseminate or cause to be so made or disseminated any such statement
   9
       as part of a plan or scheme with the intent not to sell that personal property or those services,
  10
       professional or otherwise, so advertised at the price stated therein, or as so advertised.”
  11
              146.    As detailed above, Defendant’s unlawful practices include disseminating false
  12
       and/or misleading representations about the Product.
  13
              147.    Throughout the Class Period, Defendant advertised, labeled, packaged, marketed,
  14
       distributed, and sold the Product unambiguously claiming it to be Octopus prominently on the
  15
       Product’s front packaging and labeling. However, the Product is not Octopus because it is made
  16
       with an inferior Squid.
  17
              148.    Plaintiff would not have purchased the Product, but for Defendant’s misleading
  18
       statements about the Product.
  19
              149.    Plaintiff was injured in fact and lost money as a result of Defendant’s conduct.
  20
              150.    Plaintiff paid for the Product, but did not receive what he reasonably expected.
  21
              151.    Plaintiff has standing to pursue this claim as Plaintiff has suffered injury in fact
  22
       and has lost money or property as a result of Defendants’ actions as set forth herein.
  23
              152.    Defendant’s business practices, as alleged herein, are unfair because: (1) the injury
  24
       to consumers is substantial; (2) the injury is not outweighed by any countervailing benefits to
  25
       consumers or competition; and (3) consumers could not reasonably have avoided the information
  26
       because Defendant intentionally misled the consuming public by means of the claims made with
  27
       respect to the Product as set forth herein.
  28

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              153.    In its marketing and advertising, Defendant makes false and misleading statements
   1
       regarding the uses and benefits of the Product.
   2
              154.    Such marketing, advertising and sale of the Product by Defendant is unlawful
   3
       because (1) they are violating sections 1770(a)(5), 1770(a)(7) and 1770(a)(9) of the CLRA,
   4
       California Civil Code section 1750, et seq.; and (2) they are violating the FAL, California
   5
       Business & Professions Code section 17500, et seq.
   6
              155.    Because Defendant’s business conduct in advertising, marketing and selling the
   7
       Product using false and misleading statements, in violation of the CLRA, FAL, and/or other
   8
       federal and state laws or regulations, it constitutes a per se violation of the “unlawful” prong of
   9
       the UCL.
  10
              156.    As purchasers and consumers of Defendant’s Product, and as members of the
  11
       general public who purchased and used the Product, Plaintiff and the Class are entitled to and
  12
       bring this class action seeking all available remedies under the UCL.
  13
              157.    Pursuant to California Bus. & Prof. Code § 17203, Plaintiff, individually and on
  14
       behalf of the Class, seeks an order of this Court for injunctive relief and disgorging and restoring
  15
       all monies that may have been acquired by Defendant as a result of such unlawful business acts or
  16
       practices. Plaintiff, the Class and the general public may be irreparably harmed and/or denied an
  17
       effective and complete remedy in the absence of such an order.
  18
              158.    As a result of Defendant’s violations of the UCL, Plaintiff and the Class are
  19
       entitled to restitution for out-of-pocket expenses and economic harm.
  20
              159.    Pursuant to Civil Code § 3287(a), Plaintiff and the Class are further entitled to pre-
  21
       judgment interest as a direct and proximate result of Defendants’ unlawful business conduct. The
  22
       amount on which interest is to be calculated is a sum certain and capable of calculation, and
  23
       Plaintiff and the Class are entitled to interest in an amount according to proof.
  24
                                                   COUNT IV
  25
        Violation of the California Consumers Legal Remedies Act – Cal. Civ. Code §§ 1750, et seq.
  26
         (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Transnational
  27
                                                Foods, Inc. Only)
  28

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              160.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
   1
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
   2
       herein verbatim.
   3
              161.    This cause of action is brought pursuant to California’s Consumers Legal
   4
       Remedies Act, California Civil Code, sections 1750 et seq. (“CLRA”).
   5
              162.    Throughout the Class Period, Defendant advertised, labeled, packaged, marketed,
   6
       distributed, and sold the Product unambiguously claiming it to be Octopus prominently on the
   7
       Product’s front packaging and labeling. However, the Product is not Octopus because it is made
   8
       with an inferior Squid.
   9
              163.    This cause of action seeks monetary damages and injunctive relief pursuant to
  10
       California Civil Code § 1782.
  11
              164.    Defendant’s actions, representations, and conduct have violated the CLRA,
  12
       because they extend to transactions that are intended to result, or that have resulted, in the sale of
  13
       goods to consumers.
  14
              165.    Under the CLRA, ‘“Person’ means an individual, partnership, corporation, limited
  15
       liability company, association, or other group, however organized.” Cal. Civil Code § 1761(c).
  16
              166.    Plaintiff and all members of the Class are “consumers” as that term is defined by
  17
       the CLRA in California Civil Code § 1761(d).
  18
              167.    Defendant sold the Product, which is a “good” within the meaning of California
  19
       Civil Code § 1761(a), to Plaintiff and other members of the Class during the Class Period.
  20
              168.    Plaintiff is an individual who purchased the Product for personal use.
  21
              169.    The purchases of the Product by Plaintiff and purchasers of the Product were and
  22
       are “transactions” within the meaning of Civil Code §1761(e).
  23
              170.    Defendant’s marketing, labeling and advertising and sales of the Product violated
  24
       the CLRA in at least the following respects as set forth in detail above:
  25
                      a. In violation of Civil Code §1770(a)(5), Defendant represented that the Product
  26
                          has characteristics, ingredients, uses, and benefits which it does not have;
  27
  28

                                                        27                         First Amended Complaint
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                       b. In violation of Civil Code §1770(a)(7), Defendant represented that the Product
   1
                           is of a particular standard, quality, or grade, which it is not;
   2
                       c. In violation of Civil Code §1770(a)(9), Defendant advertised the Product with
   3
                           an intent not to sell the Product as advertised; and
   4
                       d. In violation of Civil Code §1770(a)(16), Defendant represented that the subject
   5
                           of the sale of the Product has been supplied in accordance with a prior
   6
                           representation when it has not.
   7
              171.     Defendant knew or should have known about the Product’s misrepresentation and
   8
       omissions.
   9
              172.     Defendant’s actions as described herein were done with conscious disregard of
  10
       Plaintiff’s rights, and Defendant was wanton and malicious in its concealment of same.
  11
              173.     Defendant’s wrongful business practices constitute a continuing course of conduct
  12
       in violation of the CLRA.
  13
              174.     Plaintiff and other members of the putative Class have suffered injury in fact and
  14
       have lost money as a result of Defendants’ misrepresentations.
  15
              175.     Plaintiff seeks an award of restitution and actual damages in accordance with the
  16
       provisions of the CLRA.
  17
              176.     Plaintiff also seeks equitable relief in the form of an order for injunctive relief:
  18
                    a) Requiring Defendant to make full restitution of all monies wrongfully obtained as
  19
                       a result of the conduct described above;
  20
                    b) Requiring Defendant to disgorge all ill-gotten gains flowing from the conduct
  21
                       described above; and
  22
                    c) Enjoining Defendant from engaging, using, or employing its advertising and
  23
                       marketing tactics to sell the Product, as described above.
  24
              177.     Pursuant to the notice requirements under the CLRA, on or about May 12, 2017,
  25
       Plaintiff sent Defendant a letter via U.S.P.S. Certified Mail, notifying Defendant in writing of the
  26
       particular violations of the CLRA, and demanding that Defendant take certain corrective actions
  27
       within the mandated thirty (30) day time period. Because Defendant failed to adequately respond
  28

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       within the thirty (30) day time-period, Plaintiff seeks punitive damages and statutory damages
   1
       pursuant to the CLRA.
   2
              178.    Pursuant to the CLRA, Plaintiff separately seeks, and is entitled to, costs,
   3
       attorney’s fees, and any other applicable relief allowable under the CLRA.
   4
                                                    COUNT V
   5
                                         Negligent Misrepresentation
   6
         (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Transnational
   7
                                               Foods, Inc. Only)
   8
              179.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
   9
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
  10
       herein verbatim.
  11
              180.    Throughout the Class Period, Defendant, Transnational, advertised, labeled,
  12
       packaged, marketed, distributed, and sold the Product unambiguously claiming it to be Octopus
  13
       prominently on the Product’s front packaging and labeling. However, the Product is not Octopus
  14
       because it is made with an inferior Squid.
  15
              181.    Defendant, Transnational, had no reasonable grounds for believing its
  16
       representations were true.
  17
              182.    Defendant,    Transnational,    should    have    known     about     the   Product’s
  18
       misrepresentations.
  19
              183.    Throughout or during the Class Period, Defendant, Transnational, knew or should
  20
       have known that it was representing, stating, advertising, packaging, marketing, distributing,
  21
       and/or selling Squid in the Product, and not Octopus, like it had been representing to consumers,
  22
       like Plaintiff and members of the Class, during the Class Period.
  23
              184.    In making these representations to Plaintiff and the Class, Defendant,
  24
       Transnational, intended to induce Plaintiff and the Class to purchase the Product.
  25
              185.    At all times herein, Plaintiff and the Class were unaware of the falsity of
  26
       Defendant, Transnational’s statement that the Product is Octopus.
  27
  28

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                 186.    Plaintiff and the Class reasonably acted in response to the statements made by
   1
       Defendant, Transnational, when they purchased the Product.
   2
                 187.    As a direct and proximate result of Defendant, Transnational’s misrepresentation
   3
       regarding the Product, Plaintiff and Class members purchased the Product, to their detriment.
   4
                 188.    Accordingly, Plaintiff and the Class have suffered economic damages as a result of
   5
       Defendant, Transnational’s misrepresentation, in an amount to be determined at trial.
   6
                                                     COUNT VI
   7
                        Violation of California Business & Professions Code §§ 17500 et seq.
   8
            (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Conservas
   9
                                                Cerqueira, S.A. Only)
  10
                 189.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
  11
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
  12
       herein verbatim.
  13
                 190.    Throughout the Class Period, Defendant, Conservas Cerqueira, S.A. (“Cerqueira”)
  14
       advertised, labeled, packaged, marketed, distributed, supplied and sold the Product
  15
       unambiguously claiming it to be Octopus prominently on the Product’s front packaging and
  16
       labeling. However, the Product is not Octopus because it is made with Squid, an inferior seafood.
  17
                 191.    Defendant’s    advertisements,   mislabeling    and   packaging     and   marketing
  18
       representations are misleading, untrue, and likely to deceive reasonable consumers.
  19
                 192.    Defendant engaged in its advertising, mislabeling and packaging and marketing
  20
       campaign with intent to directly induce customers to purchase the Product based on false claims.
  21
                 193.    In violation of California Business and Professions Code, sections 17500, et seq.,
  22
       known as California’s False Advertising Law (“FAL”), Defendant disseminated, or caused to be
  23
       disseminated, the deceptive Product’s labeling and advertising representations.
  24
                 194.    Defendant’s labeling and advertising representations for the Product is by its very
  25
       nature unfair, deceptive and/or unlawful within the meaning of Cal. Bus. & Prof. Code §§ 17500
  26
       et seq.
  27
  28

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                195.    According to Cal. Bus. & Prof. Code § 17505: “No person shall state, in an
   1
       advertisement of his goods, that he is a producer, manufacturer, processor, wholesaler, or
   2
       importer, or that he owns or controls a factory or other source of supply of goods when such is
   3
       not the fact, and no person shall in any other manner misrepresent the character, extent, volume,
   4
       or type of his business.”
   5
                196.    Under the FAL, “person” includes any individual, partnership, firm, association, or
   6
       corporation.” Cal. Bus. & Prof. Code § 17506.
   7
                197.    The representations were at all material times hereto likely to deceive reasonable
   8
       consumers, including Plaintiff and members of the Class.
   9
                198.    Defendant violated Cal. Bus. & Prof. Code §§ 17500 et seq., in making and
  10
       disseminating the deceptive representations alleged herein.
  11
                199.    Defendant knew or should have known that the representations were false,
  12
       misleading, and likely to deceive reasonable consumers, such as Plaintiff and members of the
  13
       Class.
  14
                200.    As a direct and proximate result of Defendant’s wrongful conduct, Plaintiff and
  15
       similarly situated purchasers of the Product have suffered economic damages.
  16
                201.    Plaintiff was injured in fact and lost money as a result of Defendants’ conduct of
  17
       improperly advertising the Product as described herein.
  18
                202.    Plaintiff would not have purchased the Product but for Defendant’s misleading
  19
       statements about the Product.
  20
                203.    Pursuant to Bus. & Prof. Code § 17535, Plaintiff, individually and on behalf of all
  21
       similarly situated purchasers, seeks an order of this Court requiring Defendant to restore to
  22
       purchasers of the Product all monies that may have been acquired by Defendant as a result of
  23
       such false, unfair, deceptive and/or unlawful acts or practices. Plaintiff and members of the Class
  24
       seek declaratory relief, restitution for monies wrongfully obtained, disgorgement of ill-gotten
  25
       revenues and/or profits, injunctive relief enjoining Defendant from disseminating its untrue and
  26
       misleading statements, and other relief allowable under California Business & Professions Code
  27
       Section 17535.
  28

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              204.    Furthermore, as a result of Defendant’s violations of the False Advertising Law,
   1
       Cal. Bus. & Prof. Code §§ 17500, et seq., Plaintiff and similarly situated purchasers of the
   2
       Product are entitled to restitution for out-of-pocket expenses and economic harm.
   3
              205.    Pursuant to Civil Code § 3287(a), Plaintiff and similarly situated purchasers of the
   4
       Product are further entitled to pre-judgment interest as a direct and proximate result of
   5
       Defendants’ wrongful conduct. The amount on which interest is to be calculated is a sum certain
   6
       and capable of calculation, and Plaintiff and similarly situated purchasers of the Product are
   7
       entitled to interest in an amount according to proof.
   8
                                                  COUNT VII
   9
         Violation of the Unfair and Fraudulent Prongs of Cal. Bus. & Prof. Code §§ 17200, et seq.
  10
            (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Conservas
  11
                                              Cerqueira, S.A. Only)
  12
              206.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
  13
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
  14
       herein verbatim.
  15
              207.    This cause of action is brought on behalf of Plaintiff and members of the putative
  16
       Class, against Defendant, Conservas Cerqueira, S.A. (“Cerqueira”), pursuant to California
  17
       Business and Professions Code, sections 17200 et seq., known as California’s Unfair Competition
  18
       Law (“UCL”), which provides that “unfair competition shall mean and include any unlawful,
  19
       unfair or deceptive business act or practice and unfair, deceptive, untrue or misleading advertising
  20
       and any act prohibited by Chapter I (commencing with Section 17500) as Part 3 of Division 7 of
  21
       the Business and Professions Code.”
  22
              208.    According to Cal. Bus. & Prof. Code § 17500: “It is unlawful for any person, firm,
  23
       corporation or association, or any employee thereof with intent directly or indirectly to dispose of
  24
       real or personal property or to perform services, professional or otherwise, or anything of any
  25
       nature whatsoever or to induce the public to enter into any obligation relating thereto, to make or
  26
       disseminate or cause to be made or disseminated before the public in this state, or to make or
  27
       disseminate or cause to be made or disseminated from this state before the public in any state, in
  28

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       any newspaper or other publication, or any advertising device, or by public outcry or
   1
       proclamation, or in any other manner or means whatever, including over the Internet, any
   2
       statement, concerning that real or personal property or those services, professional or otherwise,
   3
       or concerning any circumstance or matter of fact connected with the proposed performance or
   4
       disposition thereof, which is untrue or misleading, and which is known, or which by the exercise
   5
       of reasonable care should be known, to be untrue or misleading, or for any person, firm, or
   6
       corporation to so make or disseminate or cause to be so made or disseminated any such statement
   7
       as part of a plan or scheme with the intent not to sell that personal property or those services,
   8
       professional or otherwise, so advertised at the price stated therein, or as so advertised.”
   9
              209.    In its marketing, advertising, labeling and packaging of the Product, Defendant
  10
       makes false and misleading statements regarding the uses and benefits of the Product.
  11
              210.    Throughout the Class Period, Defendant advertised, labeled, packaged, marketed,
  12
       distributed, and sold the Product unambiguously claiming it to be Octopus prominently on the
  13
       Product’s front packaging and labeling. However, the Product is not Octopus because it is made
  14
       with an inferior Squid.
  15
              211.    The misrepresentations Defendant makes about the Product constitutes an unfair
  16
       and fraudulent business practice within the meaning of California Business & Professions Code
  17
       section 17200, et seq.
  18
              212.    Defendant committed “unfair” and/or “fraudulent” business acts or practices by,
  19
       among other things: (1) engaging in conduct where the utility of such conduct, if any, is
  20
       outweighed by the gravity of the consequences to Plaintiff and members of the Class; (2)
  21
       engaging in conduct that is immoral, unethical, oppressive, unscrupulous, or substantially
  22
       injurious to Plaintiff and members of the Class; and (3) engaging in conduct that undermines or
  23
       violates the spirit or intent of the consumer protection laws alleged herein.
  24
              213.    As detailed above, Defendant’s unfair and/or fraudulent practices include
  25
       disseminating false and/or misleading representations regarding the Product.
  26
              214.    Defendant is aware that the claims it made about the Product is false, misleading,
  27
       and likely to deceive reasonable consumers.
  28

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              215.    Plaintiff would not have purchased the Product but for Defendant’s misleading
   1
       statements about the Product.
   2
              216.    Plaintiff was injured in fact and lost money as a result of Defendant’s conduct.
   3
              217.    Plaintiff has standing to pursue this claim as Plaintiff has suffered injury in fact
   4
       and has lost money or property as a result of Defendant’s actions as set forth herein.
   5
              218.    Defendant’s business practices, as alleged herein, are unfair because: (1) the injury
   6
       to consumers is substantial; (2) the injury is not outweighed by any countervailing benefits to
   7
       consumers or competition; and (3) consumers could not reasonably have avoided the information
   8
       because Defendant intentionally misled the consuming public by means of the claims made with
   9
       respect to the Product as set forth herein.
  10
              219.    Defendant’s business practices as alleged herein are fraudulent because they are
  11
       likely to deceive customers into believing the Product has characteristics, uses and benefits they
  12
       do not have.
  13
              220.    In addition, Defendant’s use of various forms of advertising media to advertise,
  14
       including the Product’s labeling, call attention to, or give publicity to, the sale of goods or
  15
       merchandise which are not as represented in any manner, which constitutes unfair competition,
  16
       unfair, deceptive, untrue or misleading advertising, and an unlawful business practice within the
  17
       meaning of Business & Professions Code sections 17200, et seq.
  18
              221.    Defendant’s wrongful business practices constituted a continuing course of
  19
       conduct of unfair competition since Defendant is marketing and selling the Product in a manner
  20
       likely to deceive the public.
  21
              222.    Defendant has peddled its misrepresentations through advertising, including the
  22
       Product’s labeling.
  23
              223.    There were reasonably available alternatives to further Defendants’ legitimate
  24
       business interests, other than the conduct described herein.
  25
              224.    Plaintiff and the putative members of the Class were misled into purchasing the
  26
       Product by Defendants’ deceptive and fraudulent conduct as alleged herein.
  27
  28

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              225.    Defendant had an improper motive (profit before accurate marketing) in its
   1
       practices related to the deceptive labeling and advertising of the Product, as set forth above.
   2
              226.    The use of such unfair and fraudulent business acts and practices was under the
   3
       sole control of Defendant, and was deceptively hidden from members of the general public in
   4
       Defendants’ marketing, advertising and labeling of the Product.
   5
              227.    As purchasers and consumers of Defendant’s Product, and as members of the
   6
       general public who purchased and consumed the Product, Plaintiff and the Class are entitled to
   7
       bring this class action seeking all available remedies under the UCL.
   8
              228.    Pursuant to California Bus. & Prof. Code § 17203, Plaintiff, individually, and on
   9
       behalf of the Class, seeks an order of this Court for injunctive relief and disgorging and restoring
  10
       all monies that have been acquired by Defendant as a result of Defendants’ business acts or
  11
       practices described herein. Plaintiff, the Class, and the general public may be irreparably harmed
  12
       or denied an effective and complete remedy in the absence of such an order.
  13
              229.    As a result of Defendant’s violations of the UCL, Plaintiff and the Class are
  14
       entitled to restitution for out-of-pocket expenses and economic harm.
  15
              230.    Pursuant to Civil Code § 3287(a), Plaintiff and the Class are further entitled to pre-
  16
       judgment interest as a direct and proximate result of Defendants’ unfair and fraudulent conduct.
  17
       The amount on which interest is to be calculated is a sum certain and capable of calculation, and
  18
       Plaintiff and the Class are entitled to interest in an amount according to proof.
  19
                                                  COUNT VIII
  20
                 Violation of the Unlawful Prong of Cal. Bus. & Prof. Code §§ 17200, et seq.
  21
            (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Conservas
  22
                                              Cerqueira, S.A. Only)
  23
              231.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
  24
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
  25
       herein verbatim.
  26
              232.    This cause of action is brought on behalf of Plaintiff and members of the putative
  27
       Class, against Defendant, Conservas Cerqueira, S.A. (“Cerqueira”), pursuant to California
  28

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       Business and Professions Code, sections 17200 et seq., known as California’s Unfair Competition
   1
       Law (“UCL”), which provides that “unfair competition shall mean and include any unlawful,
   2
       unfair or deceptive business act or practice and unfair, deceptive, untrue or misleading advertising
   3
       and any act prohibited by Chapter I (commencing with Section 17500) as Part 3 of Division 7 of
   4
       the Business and Professions Code.”
   5
              233.    According to Cal. Bus. & Prof. Code § 17500: “It is unlawful for any person, firm,
   6
       corporation or association, or any employee thereof with intent directly or indirectly to dispose of
   7
       real or personal property or to perform services, professional or otherwise, or anything of any
   8
       nature whatsoever or to induce the public to enter into any obligation relating thereto, to make or
   9
       disseminate or cause to be made or disseminated before the public in this state, or to make or
  10
       disseminate or cause to be made or disseminated from this state before the public in any state, in
  11
       any newspaper or other publication, or any advertising device, or by public outcry or
  12
       proclamation, or in any other manner or means whatever, including over the Internet, any
  13
       statement, concerning that real or personal property or those services, professional or otherwise,
  14
       or concerning any circumstance or matter of fact connected with the proposed performance or
  15
       disposition thereof, which is untrue or misleading, and which is known, or which by the exercise
  16
       of reasonable care should be known, to be untrue or misleading, or for any person, firm, or
  17
       corporation to so make or disseminate or cause to be so made or disseminated any such statement
  18
       as part of a plan or scheme with the intent not to sell that personal property or those services,
  19
       professional or otherwise, so advertised at the price stated therein, or as so advertised.”
  20
              234.    As detailed above, Defendant’s unlawful practices include disseminating false
  21
       and/or misleading representations about the Product.
  22
              235.    Throughout the Class Period, Defendant advertised, labeled, packaged, marketed,
  23
       distributed, and sold the Product unambiguously claiming it to be Octopus prominently on the
  24
       Product’s front packaging and labeling. However, the Product is not Octopus because it is made
  25
       with an inferior Squid.
  26
              236.    Plaintiff would not have purchased the Product, but for Defendant’s misleading
  27
       statements about the Product.
  28

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              237.    Plaintiff was injured in fact and lost money as a result of Defendant’s conduct.
   1
              238.    Plaintiff paid for the Product, but did not receive what he reasonably expected.
   2
              239.    Plaintiff has standing to pursue this claim as Plaintiff has suffered injury in fact
   3
       and has lost money or property as a result of Defendant’s actions as set forth herein.
   4
              240.    Defendant’s business practices, as alleged herein, are unfair because: (1) the injury
   5
       to consumers is substantial; (2) the injury is not outweighed by any countervailing benefits to
   6
       consumers or competition; and (3) consumers could not reasonably have avoided the information
   7
       because Defendant intentionally misled the consuming public by means of the claims made with
   8
       respect to the Product as set forth herein.
   9
              241.    In its marketing and advertising, Defendant makes false and misleading statements
  10
       regarding the uses and benefits of the Product.
  11
              242.    Such marketing, advertising and sale of the Product by Defendant is unlawful
  12
       because (1) they are violating sections 1770(a)(5), 1770(a)(7) and 1770(a)(9) of the CLRA,
  13
       California Civil Code section 1750, et seq.; and (2) they are violating the FAL, California
  14
       Business & Professions Code section 17500, et seq.
  15
              243.    Because Defendant’s business conduct in advertising, marketing and selling the
  16
       Product using false and misleading statements, in violation of the CLRA, FAL, and/or other
  17
       federal and state laws or regulations, it constitutes a per se violation of the “unlawful” prong of
  18
       the UCL.
  19
              244.    As purchasers and consumers of Defendant’s Product, and as members of the
  20
       general public who purchased and used the Product, Plaintiff and the Class are entitled to and
  21
       bring this class action seeking all available remedies under the UCL.
  22
              245.    Pursuant to California Bus. & Prof. Code § 17203, Plaintiff, individually and on
  23
       behalf of the Class, seeks an order of this Court for injunctive relief and disgorging and restoring
  24
       all monies that may have been acquired by Defendant as a result of such unlawful business acts or
  25
       practices. Plaintiff, the Class and the general public may be irreparably harmed and/or denied an
  26
       effective and complete remedy in the absence of such an order.
  27
  28

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              246.    As a result of Defendant’s violations of the UCL, Plaintiff and the Class are
   1
       entitled to restitution for out-of-pocket expenses and economic harm.
   2
              247.    Pursuant to Civil Code § 3287(a), Plaintiff and the Class are further entitled to pre-
   3
       judgment interest as a direct and proximate result of Defendant’s unlawful business conduct. The
   4
       amount on which interest is to be calculated is a sum certain and capable of calculation, and
   5
       Plaintiff and the Class are entitled to interest in an amount according to proof.
   6
                                                   COUNT IX
   7
        Violation of the California Consumers Legal Remedies Act – Cal. Civ. Code §§ 1750, et seq.
   8
            (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Conservas
   9
                                              Cerqueira, S.A. Only)
  10
              248.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
  11
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
  12
       herein verbatim.
  13
              249.    This cause of action is brought pursuant to California’s Consumers Legal
  14
       Remedies Act, California Civil Code, sections 1750 et seq. (“CLRA”).
  15
              250.    Throughout the Class Period, upon information and belief, Defendant, Conservas
  16
       Cerqueira, S.A. (“Cerqueira”), distributed, supplied, and/or sold the Squid in the Product by
  17
       representing, stating, advertising, packaging, and marketing it as being Octopus. However, Squid
  18
       is an inferior, less-desirable, and cheaper form of seafood, in far-less demand, and much greater
  19
       supply than Octopus.
  20
              251.    This cause of action seeks monetary damages and injunctive relief pursuant to
  21
       California Civil Code § 1782.
  22
              252.    Defendant’s actions, representations, and conduct have violated the CLRA,
  23
       because they extend to transactions that are intended to result, or that have resulted, in the sale of
  24
       goods to consumers.
  25
              253.    Under the CLRA, ‘“Person’ means an individual, partnership, corporation, limited
  26
       liability company, association, or other group, however organized.” Cal. Civil Code § 1761(c).
  27
  28

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              254.    Plaintiff and all members of the Class are “consumers” as that term is defined by
   1
       the CLRA in California Civil Code § 1761(d).
   2
              255.    Defendant sold the Product, which is a “good” within the meaning of California
   3
       Civil Code § 1761(a), to Plaintiff and other members of the Class during the Class Period.
   4
              256.    Plaintiff is an individual who purchased the Product for personal use.
   5
              257.    The purchases of the Product by Plaintiff and purchasers of the Product were and
   6
       are “transactions” within the meaning of Civil Code §1761(e).
   7
              258.    Defendant’s marketing, labeling and advertising and sales of the Product violated
   8
       the CLRA in at least the following respects as set forth in detail above:
   9
                      e. In violation of Civil Code §1770(a)(5), Defendant represented that the Product
  10
                          has characteristics, ingredients, uses, and benefits which it does not have;
  11
                      f. In violation of Civil Code §1770(a)(7), Defendant represented that the Product
  12
                          is of a particular standard, quality, or grade, which it is not;
  13
                      g. In violation of Civil Code §1770(a)(9), Defendant advertised the Product with
  14
                          an intent not to sell the Product as advertised; and
  15
                      h. In violation of Civil Code §1770(a)(16), Defendant represented that the subject
  16
                          of the sale of the Product has been supplied in accordance with a prior
  17
                          representation when it has not.
  18
              259.    Defendant knew or should have known about the Product’s misrepresentation and
  19
       omissions.
  20
              260.    Defendant, Cerqueira, increased its profits by being able to charge more for its
  21
       Squid, by representing it as being Octopus because Octopus has more value and is more
  22
       expensive than Squid.
  23
              261.    Defendant’s actions as described herein were done with conscious disregard of
  24
       Plaintiff’s rights, and Defendant was wanton and malicious in its concealment of same.
  25
              262.    Defendants’ wrongful business practices constitute a continuing course of conduct
  26
       in violation of the CLRA.
  27
  28

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              263.    Plaintiff and other members of the putative Class have suffered injury in fact and
   1
       have lost money as a result of Defendants’ misrepresentations.
   2
              264.    Plaintiff seeks an award of restitution and actual damages in accordance with the
   3
       provisions of the CLRA.
   4
              265.    Plaintiff also seeks equitable relief in the form of an order for injunctive relief:
   5
                  a) Requiring Defendant to make full restitution of all monies wrongfully obtained as
   6
                      a result of the conduct described above;
   7
                  b) Requiring Defendant to disgorge all ill-gotten gains flowing from the conduct
   8
                      described above; and
   9
                  c) Enjoining Defendant from engaging, using, or employing its advertising and
  10
                      marketing tactics to sell the Product, as described above.
  11
              266.    Pursuant to the notice requirements under the CLRA, on or about May 12, 2017,
  12
       Plaintiff sent Defendant a letter via U.S.P.S. Certified Mail, notifying Defendant in writing of the
  13
       particular violations of the CLRA, and demanding that Defendant take certain corrective actions
  14
       within the mandated thirty (30) day time period. Because Defendant failed to adequately respond
  15
       within the thirty (30) day time-period, Plaintiff seeks punitive damages and statutory damages
  16
       pursuant to the CLRA.
  17
              267.    Pursuant to the CLRA, Plaintiff separately seeks, and is entitled to, costs,
  18
       attorney’s fees, and any other applicable relief allowable under the CLRA.
  19
                                                    COUNT X
  20
                                          Negligent Misrepresentation
  21
           (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Conservas
  22
                                              Cerqueira, S.A. Only)
  23
              268.    Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
  24
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
  25
       herein verbatim.
  26
              269.    Throughout the Class Period, upon information, investigation, and belief,
  27
       Defendant, Conservas Cerqueira, S.A. (“Cerqueira”), represented that the Squid in the Product
  28

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       was Octopus. However, Squid is an inferior, less-desirable, and cheaper form of seafood, in far-
   1
       less demand, and much greater supply than Octopus.
   2
              270.       Defendant, Cerqueira, knew or should have known that the Product is not Octopus,
   3
       as it claims, because it supplied Squid, and not Octopus, for the Product.
   4
              271.       Defendant, Cerqueira, had no reasonable grounds for believing the Product’s
   5
       Octopus representation, statement, and/or claim was true.
   6
              272.       In misrepresenting that the Product is Octopus, when it is really Squid, to Plaintiff
   7
       and the Class, Defendant, Cerqueira, induced Plaintiff and the Class to purchase the Product.
   8
              273.       At all material times herein, Plaintiff and the Class were unaware that the Product
   9
       contains Squid, and not Octopus, and thus, were unaware of the falsity of the Product’s
  10
       representation.
  11
              274.       Plaintiff and the Class reasonably acted in response to the representations made by
  12
       Defendant, Cerqueira, when they purchased the Product.
  13
              275.       As a direct and proximate result of Defendant, Cerqueira’s, misrepresentation
  14
       regarding the Product, Plaintiff and Class members purchased the Product, to their detriment.
  15
              276.       Accordingly, Plaintiff and the Class have suffered economic damages as a result of
  16
       Defendant, Cerqueira’s misrepresentation, in an amount to be determined at trial.
  17
                                                     COUNT XI
  18
                                            Intentional Misrepresentation
  19
           (Brought on behalf of Plaintiff and the Proposed Class Against Defendant, Conservas
  20
                                                Cerqueira, S.A. Only)
  21
              277.       Plaintiff re-alleges and fully incorporates by reference all allegations set forth in
  22
       the preceding paragraphs one (1) through one-hundred (100) of this Complaint as if fully set forth
  23
       herein verbatim.
  24
              278.       Throughout the Class Period, upon information, investigation, and belief,
  25
       Defendant, Conservas Cerqueira, S.A. (“Cerqueira”), represented that the Squid in the Product
  26
       was Octopus. However, Squid is an inferior, less-desirable, and cheaper form of seafood, in far-
  27
       less demand, and much greater supply than Octopus.
  28

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              279.       Defendant, Cerqueira, knows or knew that the Product is not Octopus, as it claims,
   1
       because it supplied Squid, and not Octopus, for the Product.
   2
              280.       Defendant, Cerqueira, had no grounds, reasonable or unreasonable, for believing
   3
       the Product’s Octopus representation, statement, and/or claim was true.
   4
              281.       In misrepresenting that the Product is Octopus, when it is really Squid, to Plaintiff
   5
       and the Class, Defendant, Cerqueira, intended to induce Plaintiff and the Class to purchase the
   6
       Product.
   7
              282.       At all material times herein, Plaintiff and the Class were unaware that the Product
   8
       contains Squid, and not Octopus, and thus, were unaware of the falsity of the Product’s
   9
       representation.
  10
              283.       Plaintiff and the Class reasonably acted in response to the representations made by
  11
       Defendant, Cerqueira, when they purchased the Product.
  12
              284.       As a direct and proximate result of Defendant, Cerqueira’s, intentional
  13
       misrepresentation regarding the Product, Plaintiff and Class members purchased the Product, to
  14
       their detriment.
  15
              285.       Accordingly, Plaintiff and the Class have suffered economic damages as a result of
  16
       Defendant, Cerqueira’s misrepresentation, in an amount to be determined at trial.
  17
                                            VII. PRAYER FOR RELIEF
  18
              WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, prays
  19
       for a judgment and relief on all causes of action as follows:
  20
              A.         For an order certifying that the action may be maintained as a class action,
  21
       certifying Plaintiff as representative of the Class, and designating Plaintiff’s attorneys as Class
  22
       counsel.
  23
              B.         For an award of equitable relief as follows:
  24
                   i.    Enjoining Defendants from making any Octopus claims for the Product found to
  25
                         violate the UCL, FAL, or CLRA as set forth above;
  26
                  ii.    Requiring Defendants to make full restitution of all monies wrongfully obtained as
  27
                         a result of the conduct as set for above;
  28

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               iii.   Requiring Defendants to disgorge all ill-gotten gains flowing from the conduct as
   1
                      set forth above.
   2
              C.      For actual damages in an amount to be determined at trial.
   3
              D.      For punitive damages in an amount to be determined at trial, pursuant to Cal. Civil
   4
       Code § 1780(a)(4).
   5
              E.      For an award of attorneys’ fees pursuant to, inter alia, Cal. Civil Code § 1780(d),
   6
       and California Code of Civil Procedure § 1021.5.
   7
              F.      For an award of costs.
   8
              G.      For such further relief this Court deems just, appropriate, or proper.
   9
              H.      For pre- and post-judgment interest on any amounts awarded.
  10
                                             VIII. JURY DEMAND
  11
              Plaintiff respectfully demands a trial by jury on all issues so triable.
  12
  13   DATED: December 1, 2017                       Respectfully Submitted By,
  14
                                                     /s/_Benjamin M. Lopatin__________________
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  24                                                 (To be Admitted Pro Hac Vice)
  25
                                                     Counsel for Plaintiff Vivian Lejbman
  26                                                 and the Proposed Class

  27
  28

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                                         CERTIFICATE OF SERVICE
   1          I HEREBY CERTIFY that on this 1st day of December 2017, the foregoing was filed with
   2   the Court and copies were served on all counsel of record, listed below, via CM/ECF.
   3
                                                   /s/_Benjamin M. Lopatin__________________
   4                                               Benjamin M. Lopatin

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  28

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